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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

DALANEA TAYLOR; TAMMY
HEILMAN; DARLENE DEEGAN;
and ROBERT A. JONES III,

               Plaintiffs,
v.                                           CASE NO.: 8:21-cv-00555-SDM-CPT

CHRIS NOCCO, in his official
capacity as Pasco County Sheriff,

               Defendant.
                                            /

                    DEFENDANT’S UNOPPOSED MOTION
                  TO SUPPLEMENT TO FILING UNDER SEAL

          Defendant Sheriff NOCCO, by and through undersigned counsel, in

supplement to the joint motion to file non-electronically and under seal (Dkt. 111),

and pursuant to Local Rule 1.11, moves the Court for entry of an Order permitting

the Defendant to file under seal certain juvenile criminal history information, and

states:

          1.   This is a §1983 claim brought by Plaintiffs against Defendant Pasco

County Sheriff Nocco relating in part to numerous interactions the Plaintiffs had

with Pasco Sheriff’s Deputies. Summary judgment motions in this case are due to

be filed on June 6, 2022. The parties have filed a joint motion to allow filing under

seal of certain materials, and to make non-electronic filing of others. (Dkt. 111).
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      2.     In addition to the materials identified in that motion, Defendant seeks

to file in support of his motion for summary judgment Department of Juvenile

Justice “Face Sheets” for the prolific offender children of two of the Plaintiffs,

Robert Jones and Tammy Heilman. These documents provide criminal histories of

the juveniles. However, pursuant to §985.04(1)(a) and (b), Fla. Stat., such records

are confidential and exempt. (See also Dkt. 104, Order granting motion to release

records).

      3.     The Defendant believes that submission of these materials to the Court,

under seal, will provide the Court with information as to why the Defendant agency

would have been justified in focusing deterrence efforts on the juveniles in question.

The documents to be filed are comprised of approximately 40 pages, total. No

prejudice will result to any party or the Court with the filing of these records under

seal. Moreover, the granting of this motion will not impeded the public’s access to

the action or case materials to which the public otherwise would have access because

these documents are already confidential and exempt from public disclosure.

      4.     LOCAL RULE 3.01(G) CERTIFICATION – Undersigned counsel

has contacted Robert Johnson, Esq., counsel for Plaintiffs, who advises that there is

no objection to this motion.

      WHEREFORE, Defendant requests that the Court enter an Order permitting

the filing under seal of the “Face Sheets” so as to preserve confidential material.


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                          MEMORANDUM OF LAW

      Filing under seal is necessary in this case pursuant to state statute governing

confidentiality of juvenile arrest and court records. The public would not have

access to these documents anyway and so there is no harm to any party, the public,

or the Court in filing them under seal. Defendant submits there is therefore good

cause to allow filing under seal of the documents. Breedlove v. Hartford Life and

Acc. Ins. Co., 2013 WL 193251, *1-2 (M.D.Fla. May 9, 2013). No party opposes

the requested relief.




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                            CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 6th day of June, 2022, I electronically filed

the foregoing with the Clerk of the Court by using the CM/ECF system which will

send a notice of electronic filing to the following:      Ari S. Bargil, Esquire

(abargil@ij.org), Institute For Justice, 2 S. Biscayne Boulevard, Suite 3180, Miami,

Florida 33131; Joshua A. House, Esquire (jhouse@ij.org) and Caroline Grace

Brothers, Esquire (cgbrothers@ij.org), Institute For Justice, 901 N. Glebe Road,

Suite 900, Arlington, Virginia 22203; and Robert E. Johnson, Esquire

(rjohnson@ij.org), Institute For Justice, 16781 Chagrin Boulevard, Suite 256,

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                                       s/ Thomas Poulton
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